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 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10   EDDIE SANIN, an individual, )Case No: 5:20-cv-01868-SVW-SP
                                 )Dist. Judge: Stephen V. Wilson
11                 Plaintiff,    )Mag. Judge: Sheri Pym
     vs.                         )Courtroom: 10A
12                               )
     FCA US LLC, a Delaware      )
13   Limited Liability Company; )ORDER RE: STIPULATED PROTECTIVE
     and DOES 1 through 20,      )ORDER DATED JANUARY 6, 2021
14   inclusive,                  )
                                 )
15                 Defendants. )
                                 )
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          FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
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20   DATED: January 8, 2021             _________________________________
                                        SHERI PYM
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                                        United States Magistrate Judge
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     ___________________________________________________________________________________
                           STIPULATED PROTECTIVE ORDER
